        Case 1:23-mc-00004-CJN Document 7 Filed 01/19/23 Page 1 of 6



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

IN RE SUBPOENAS SERVED ON:


AMERICAN ACADEMY OF PEDIATRICS,
345 Park Boulevard
Itasca, IL 60143

ENDOCRINE SOCIETY,
2055 L Street NW, Suite 600
Washington, DC 20036

WORLD PROFESSIONAL ASSOCIATION
FOR TRANSGENDER HEALTH,
1300 S. 2nd Street, Suite 180
Minneapolis, MN 55454

AMERICAN ACADEMY OF CHILD &
ADOLESCENT PSYCHIATRY,
3615 Wisconsin Avenue NW
Washington, DC 20016

AMERICAN ACADEMY OF FAMILY               Misc. Case No. 23-MC-00004
PHYSICIANS,
11400 Tomahawk Creek Parkway
Leawood, KS 66211

AMERICAN ACADEMY OF NURSING,
1000 Vermont Avenue NW, Suite 910
Washington, DC 20005

AMERICAN COLLEGE OF
OBSTETRICIANS AND GYNECOLOGISTS,
409 12th Street SW
Washington, DC 20024

AMERICAN COLLEGE OF PHYSICIANS,
190 N. Independence Mall West
Philadelphia, PA 19106

AMERICAN MEDICAL ASSOCIATION,
330 N. Wabash Avenue, Suite 39300
Chicago, IL 60611



                                     1
       Case 1:23-mc-00004-CJN Document 7 Filed 01/19/23 Page 2 of 6



AMERICAN PEDIATRIC SOCIETY,
9303 New Trails Drive, Suite 350
The Woodlands, TX 77381

AMERICAN PSYCHIATRIC ASSOCIATION,
800 Maine Avenue SW, Suite 900
Washington, DC 20024

ASSOCIATION OF AMERICAN MEDICAL
COLLEGES,
655 K Street NW, Suite 100
Washington, DC 20001

NATIONAL ASSOCIATION OF PEDIATRIC
NURSE PRACTITIONERS,
5 Hanover Square, Suite 1401
New York, NY 10004

NORTH CENTRAL FLORIDA COUNCIL OF
CHILD & ADOLESCENT PSYCHIATRY,
3615 Wisconsin Avenue NW
Washington, DC 20016

SOCIETIES FOR PEDIATRIC UROLOGY,
500 Cummings Center, Suite 4400
Beverly, MA 01915

SOCIETY FOR ADOLESCENT HEALTH
AND MEDICINE,
111 West Jackson Boulevard, Suite 1412
Chicago, IL 60604

SOCIETY FOR PEDIATRIC RESEARCH, and
9303 New Trails Drive, Suite 350
The Woodlands, TX 77381

SOCIETY OF PEDIATRIC NURSES
330 N. Wabash Avenue, Suite 2000
Chicago, IL 60611




                                         2
           Case 1:23-mc-00004-CJN Document 7 Filed 01/19/23 Page 3 of 6




 AUGUST DEKKER, et al.,

                  Plaintiffs,

 v.                                                    Northern District of Florida Case No.
                                                       4:22-cv-325-RH-MAF
 JASON WEIDA, et al.,

                  Defendants.


INTERIM SECRETARY WEIDA AND THE FLORIDA AGENCY FOR HEALTH CARE
   ADMINISTRATION’S UNOPPOSED MOTION TO EXPEDITE DECISION ON
          NON-PARTIES JOINT MOTION TO QUASH SUBPOENAS

       Interim Secretary Weida and the Florida Agency for Health Care Administration

(“AHCA”), by and through undersigned counsel and pursuant to Local Rule 7, hereby move this

Court to expedite resolution of the joint motion of eighteen non-parties 1 to quash subpoenas 2

served by AHCA on November 28, 2022 in connection with an action pending in the United States

District Court for the Northern District of Florida, Dekker, et al. v. Weida, et al., No. 4:22-cv-325-

RH-MAF. The underlying case involves a challenge by four transgender individuals—two adults

and two minors—against AHCA’s August 21, 2022 rule establishing that “Florida Medicaid does


       1
         The eighteen non-parties—all of which sought to jointly file an amicus brief in the
underlying case—are as follows: World Professional Association for Transgender Health,
Endocrine Society, American Academy of Pediatrics, American Academy of Child & Adolescent
Psychiatry, American Academy of Family Physicians, American Academy of Nursing, American
College of Obstetricians and Gynecologists, American College of Physicians, American Medical
Association, American Pediatric Society, American Psychiatric Association, Association of
American Medical Colleges, National Association of Pediatric Nurse Practitioners, North Central
Florida Council of Child & Adolescent Psychiatry, Societies for Pediatric Urology, Society for
Adolescent Health and Medicine, Society for Pediatric Research, and Society of Pediatric Nurses.
       2
         Subpoenas for depositions and documents were served on non-parties American World
Professional Association for Transgender Health (“WPATH”), Endocrine Society (“ES”), and
American Academy of Pediatrics (“AAP”). Subpoenas for documents were served on the
remaining non-parties. All have the same counsel.

                                                  3
            Case 1:23-mc-00004-CJN Document 7 Filed 01/19/23 Page 4 of 6




not cover,” as “treatment of gender dysphoria,” the use of (1) “puberty blockers,” (2) “hormones

or hormone antagonists,” (3) “sex reassignment surgeries,” or (4) “other procedures that alter

primary or secondary sexual characteristics.” Fla. Admin. Code. 59G-1.050(7)(a) (GAPMS

Rule). 3 The GAPMS Rule was enacted subsequent to the release of the State’s June 2022 GAPMS

Report. The Northern District of Florida has denied Plaintiffs’ motion for preliminary injunction

and the GAPMS Rule is currently in effect.

       An expedited ruling is warranted because the United States District Court for the Northern

District of Florida has expedited the underlying case by setting a February 7, 2023 discovery

deadline, April 7, 2023 summary judgment deadline, and May 9, 2023 bench trial. The “controlling

question” before the Northern District of Florida under binding circuit court precedent is whether,

based on current medical knowledge, the state’s determination that these treatments are

experimental is reasonable.

       The non-parties’ views regarding the medical community’s supposed prevailing accepted

standard of care for the treatment of gender dysphoria treatment are the linchpin of Plaintiffs’ case.

Plaintiffs’ Complaint is replete with references to the guidelines, standards, best-practices, and

policy positions of the non-parties regarding the treatment of gender dysphoria, and a principal

focus of Plaintiffs’ cross-examination of AHCA’s expert at the recent preliminary injunction

hearing was on such matters. Moreover, the non-parties sought to file an amicus brief in the

underlying case in which they specifically represented to the Northern District of Florida that their

own gender dysphoria guidelines are not only consistent with—but actually a part of—the medical

community’s prevailing accepted standard of care for the treatment of gender dysphoria. The non-

parties’ stonewalling of the subpoenas thus substantially prejudices AHCA because it prevents


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           This filing refers to Generally Accepted Professional Medical Standards as “GAPMS.”
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          Case 1:23-mc-00004-CJN Document 7 Filed 01/19/23 Page 5 of 6




AHCA from obtaining relevant evidence that could be used to directly support AHCA’s defense

that the prohibited treatments for gender dysphoria are not consistent with GAPMS and are

otherwise experimental.

       The non-parties’ have now filed a joint motion to quash the subpoenas to avoid producing

documents in their possession that are relevant to the underlying case. AHCA will be filing a

Memorandum of Points and Authorities in Opposition to the Non-Parties Joint Motion to Quash

the Subpoenas on or before January 20, 2023 in which it will respectfully request that this Court

deny the non-parties joint motion to quash the subpoenas and do so on an expedited basis. The

Court should take all appropriate measures to ensure that AHCA has sufficient time to obtain

relevant documents from each of the non-parties and relevant deposition testimony from three of

the non-parties (that can then be used at trial) before the Northern District of Florida’s discovery

cutoff of February 7, 2023.

                                              Respectfully submitted,

                                              /s/ Mohammad O. Jazil
                                              Mohammad O. Jazil (FBN 72556)
                                              Gary V. Perko (FBN 855898)
                                              mjazil@holtzmanvogel.com
                                              gperko@holtzmanvogel.com
                                              HOLTZMAN VOGEL BARAN
                                              TORCHINSKY & JOSEFIAK PLLC
                                              119 S. Monroe St., Suite 500
                                              Tallahassee, FL 32301
Dated: January 19, 2023                       (850) 270-5938

                                              Counsel for Interim Secretary Weida and the
                                              Agency for Health Care Administration




                                                 5
          Case 1:23-mc-00004-CJN Document 7 Filed 01/19/23 Page 6 of 6




                             LOCAL RULE CERTIFICATIONS

       The undersigned certifies that this Motion to Expedite Decision on Non-Parties Joint

Motion to Quash Subpoenas is unopposed and that the required discussion occurred under Local

Rule 7(m).

                                CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2023, a true and correct copy of the foregoing was

served on counsel for the non-parties by electronic mail and all counsel of record for the parties

who have appeared in Dekker, et al. v. Weida, et al., No. 4:22-cv-325-RH-MAF by electronic mail.

                                                    /s/ Mohammad O. Jazil
                                                    Mohammad O. Jazil




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